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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                )
 IN RE: JOHNSON & JOHNSON       )
 TALCUM POWDER PRODUCTS         )
 MARKETING, SALES PRACTICES AND )                    MDL No. 2738 (MAS) (RLS)
 PRODUCTS LIABILITY LITIGATION  )
                                )
                                )
                                )

      PROPOSED JOINT AGENDA FOR FEBRUARY 7, 2024, STATUS
                        CONFERENCE


 1.    Pending Discovery Motion:

       - Plaintiffs’ Motion for Protective Order Regarding Subpoena to Northwell
         Health, Inc. (the parties request oral argument)

 2.    Plaintiff Profile Forms :

       - Status of Overdue Forms for 2016, 2017 and 2018 cases

       - Status of the parties’ efforts to agree on form and adequacy of notice to
         counsel of discovery deficiencies.

       - Status of parties’ efforts to agree on a process for dismissing cases
         deficient in providing discovery.

 3.    Expert Depositions

       -   Status of parties’ efforts to agree on scheduling of expert depositions




 4.    Report on the Federal and State Court Dockets

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 5.    Bi-Monthly Updates to the Court on Status of Litigation

       Being mindful of the Court’s order that the parties routinely update the
 Court, the parties propose that the updates be submitted twice a month on the first
 and third Thursdays of each month.


                                              Respectfully submitted,

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 Dated: February 2, 2024




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